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   4
       Attorney for Plaintiff
   5   Beach District Surgery Center
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   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10
       Beach District Surgery Center               Case No.: 2:22-cv-01199-DSF-AGR
  11
                      Plaintiff,
  12                                               JOINT STIPULATION FOR LEAVE
             v.                                    TO FILE FIRST AMENDED
  13                                               COMPLAINT AND TO SET
       United HealthCare Services, Inc. and        DEFENDANT’S RESPONSIVE
  14   DOES 1-10,                                  PLEADING DEADLINE
  15                  Defendant.
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                      Joint Stipulation For Leave to File First Amended Complaint
                         and to Set Defendant’s Responsive Pleading Deadline
                                   Case No.: 2:22-cv-01199-DSF-AGR
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   1                                          STIPULATION
   2                   WHEREAS, the Complaint in this action was filed on December 28,
   3   2021 by Plaintiff Beach District Surgery Center (“Plaintiff”) against Defendant
   4   United HealthCare Services, Inc. (“Defendant”) in the Superior Court of California,
   5   County of Los Angeles;
   6                   WHEREAS, on February 22, 2022, Defendant removed this matter
   7   from state court to federal court on the basis of diversity and federal question
   8   jurisdiction;
   9                   WHEREAS, Plaintiff seeks to amend the complaint to address any
  10   inadequacies in the complaint and Defendant has agreed to allow Plaintiff to
  11   amend;
  12                   WHEREAS, a copy of Plaintiff’s proposed First Amended Complaint
  13   is attached hereto as Exhibit “A”;
  14                   WHEREAS, Defendant has asked and Plaintiff has agreed to give
  15   Defendant an additional 21 days to provide a responsive pleading to the Complaint.
  16                   IT IS HEREBY STIPULATED, by and between Plaintiff and
  17   Defendant, by and through their respective counsel, that:
  18                   1.     Plaintiff should be granted leave to file its First Amended
  19   Complaint, a copy of which is attached hereto as Exhibit “A”.
  20                   2.     Plaintiff’s Exhibit “A” is hereby filed as Plaintiff’s First
  21   Amended Complaint.
  22                   3.     Defendant’s deadline to respond will be 35 days from the date
  23   Plaintiff’s First Amended Complaint is deemed filed by the Court.
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                            Joint Stipulation For Leave to File First Amended Complaint
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       DATED:     June 7, 2022         LAW OFFICES OF JONATHAN A.
   1                                   STIEGLITZ
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   3                                                 By: /s/Jonathan A. Stieglitz
   4                                                    Jonathan Stieglitz,
                                                        Attorney for Plaintiff
   5
                                                        Beach District Surgery Center
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   8   DATED:     June 7, 2022         CROWELL & MORING LLP
   9
                                                     By: /s/ Marlee Santos
  10                                                 Marlee Santos
                                                     Attorney for Defendant
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                                                     United HealthCare Services, Inc.
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                      Joint Stipulation For Leave to File First Amended Complaint
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                                   Case No.: 2:22-cv-01199-DSF-AGR
